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                                          United States Bankruptcy Court
                                                            District of Nevada
                                                          Case No. 14−50331−btb
                                                                Chapter 7
In re: (Name of Debtor)
    AT EMERALD, LLC
    7725 PEAVINE PEAK COURT
    RENO, NV 89523
Social Security No.:
   xxx−xx−3971

ORDER: 1) DIRECTING THE FILING OF A FINAL REPORT AND SCHEDULES OF POST−PETITION UNPAID DEBTS; 2)
SETTING TIMES TO FILE PROOFS OF CLAIM FOR POST−PETITION UNPAID DEBTS AND FOR CLAIMS ARISING
FROM THE REJECTION OF EXECUTORY CONTRACTS OR UNEXPIRED LEASES; AND 3) DIRECTING NOTICE.

The above−entitled debtor(s) having been converted from a Chapter 11/13 case to a Chapter 7, IT IS HEREBY
ORDERED, pursuant to FRBP 1019(5), that each debtor, debtor in possession, trustee debtor in possession, or trustee in the superseded case
shall:
1) within 14 days following the entry of the order of conversion from a Chapter 11, Chapter 12 or Chapter 13 case, file a schedule of unpaid
debts incurred after commencement of the superseded case including the name and address of each creditor; AND
2) within 30 days following the entry of the order of conversion of a Chapter 11, Chapter 12 or Chapter 13 case, file and transmit to the
United States Trustee a final report and account; AND IT IS FURTHER
ORDERED that the conversion order is entered after confirmation of a plan, the debtor shall, within 14 days following the entry of the order
of conversion, file:
1) a schedule of property not listed in the final report and account acquired after the filing of the original petition but before entry of the
conversion order; AND
2) a schedule of unpaid debts not listed in the final report and account incurred after confirmation but before entry of the conversion order;
AND
3) a schedule of executory contracts and unexpired leases entered into or assumed after the filing of the original petition but before entry of
the conversion order; AND IT IS FURTHER
ORDERED that, pursuant to FRBP 3002(c);
1) the time for filing proofs of claim for unpaid debts incurred after the commencement of the superseded case is not later than 90 days after
the first date set for the meeting of creditors called under 11 USC 341(a); AND
2) the time for filing proofs of claim by a governmental unit for unpaid debts incurred after the commencement of the superseded case is not
later than 180 days after the date of conversion order; AND IT IS FURTHER
ORDERED that pursuant to FRBP 1019(6);
1) the time for filing proofs of claim arising from the rejection of executory contracts or unexpired leases under 11 USC 365(d) is fixed at
not later than 90 days after the date set for the meeting of creditors called under 11 USC 341(a).

Dated: 8/29/14                                                            BY THE COURT




                                                                          Mary A. Schott
                                                                          Clerk of the Bankruptcy Court
